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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 TESO LT, UAB, METACLUSTER LT,                  §
 UAB, CODE200, UAB,                             §
                                                §
               Plaintiffs,                      §
                                                §
 v.                                             §    CIVIL ACTION NO. 2:20-CV-00073-JRG
                                                §
 BRIGHT DATA LTD., EMK CAPITAL,                 §
 LLP,                                           §
                                                §
               Defendants.                      §

                                            ORDER

       Before the Court is the Joint Stipulation and Motion to Dismiss Case in its Entirety (the

“Stipulation”) filed and signed by Plaintiffs Teso LT, UAB, Metacluster LT, UAB, and Code200,

UAB (collectively, “Plaintiffs”) and Defendants Bright Data Ltd. and EMK Capital, LLP

(collectively, “Defendants”). (Dkt. No. 70). In the same, the parties stipulate to dismissal with

prejudice of all claims by and between them in the above-captioned matter.

       Having considered the Stipulation, the Court is of the opinion that the same should be and

hereby is ACCEPTED AND ACKNOWLEDGED. Accordingly, the Court RECOGNIZES that

all claims and counterclaims asserted in the above-captioned matter are DISMISSED WITH

PREJUDICE. It is ORDERED that each party shall bear its own costs, fees, and expenses. All

requests for relief not expressly granted herein are DENIED AS MOOT. The Clerk is directed to

CLOSE the above-captioned matter.
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       So Ordered this
       Apr 20, 2021




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